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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 KEVIN CUNNINGHAM                            )
                                             )   No. 1:21-cv- 5368
                 Plaintiff,                  )
                                             )   Hon. Virginia M. Kendall
                     v.                      )   District Court Judge
                                             )
 ROUNDY’S ILLINOIS, LLC., D/B/A              )   Hon. Sheila M. Finnegan
 MARIANO’S                                   )   Magistrate Judge
                                             )
                Defendant.                   )   JURY DEMAND
                                             )

               PLAINTIFF’S MOTION TO CONSOLIDATE PURSUANT TO
                   FEDERAL RULE OF CIVIL PROCEDURE 42 AND
        MOTION TO REASSIGN RELATED CASES PURSUANT TO LOCAL RULE 40.4

      NOW COMES Plaintiff, by his attorneys of record, and for his Motion to Consolidate

Pursuant to Federal Rule of Civil Procedure 42 and Motion to Reassign Related Cases

Pursuant to Local Rule 40.4, and in conjunction with this Motion, file their Memorandum In

Support to Consolidate Pursuant to Federal Rule of Civil Procedure 42 and Motion to

Reassign Related Cases Pursuant to Local Rule 40.4, concurrent herewith.




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      WHEREFORE, Plaintiffs respectfully request that this Court grant their Motion to

Consolidate Pursuant to Fed. R. Civ. P. 42(a) and Motion to Reassign Related Cases

Pursuant to L.R. 40.4, and for such other relief this Court deems necessary under the

circumstances.

                                      Respectfully submitted,

                                      Electronically Filed 10/03/2022

                                      /s/John W. Billhorn
                                      John W. Billhorn
                                      Samuel D. Engelson

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